              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                    Case No. 20-CR-55-JPS
 v.

 STEVEN SHAW,
                                                                  ORDER
                     Defendant.


      On March 3, 2020, the grand jury returned a three-count indictment

charging Defendant with possession with intent to distribute a controlled

substance, being a felon in possession of a firearm, and possession of

firearms in furtherance of drug trafficking in violation of 21 U.S.C. §§ 2,

841(a)(1), 841(b)(1)(A) and 18 U.S.C. §§ 922(g)(1), 924(a)(2), and

924(c)(1)(A)(i). (Docket #1). On August 25, 2020, the parties entered into a

plea agreement as to Count One of the Indictment. (Docket #11).

      The parties appeared before Magistrate Judge William E. Duffin on

September 23, 2020 to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. (Docket #13). Defendant entered a plea of guilty as

to Count One of the Indictment. (Id.) After cautioning and examining

Defendant under oath concerning each of the subjects mentioned in Rule

11, Magistrate Judge Duffin determined that the guilty plea was knowing

and voluntary, and that the offense charged was supported by an

independent factual basis containing each of the essential elements of the

offense. (Docket #14).

      On September 24, 2020, Magistrate Judge Duffin filed a Report and

Recommendation with this Court, recommending that: (1) Defendant’s plea



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of guilty be accepted, (2) a pre-sentence investigation be conducted and

report prepared, and (3) Defendant be adjudged guilty, and sentence be

imposed accordingly. (Id. at 2). Pursuant to General Local Rule 72(c), 28

U.S.C. § 636(b)(1)(B), and Federal Rule of Criminal Procedure 59(b), the

parties were advised that written objections to that recommendation, or any

part thereof, could be filed within fourteen days of the date of service of the

recommendation. (Id.) To date, no party has filed such an objection. The

Court has considered Magistrate Judge Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s Report

and Recommendation (Docket #14) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 5th day of November, 2020.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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